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TO THE PERSON PREPARING THIS AFFIDAVIT:You mustcomply w i
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             Verificationofthedateoffiling ofthecertificateofcompliancerequested intheself-addressedstamped envelopeprovided.
N OTICE TO TI4E RECIPIENT from theOfficeoftheSecretaryoftheComm onw ea1thofVirginia:
       Youarebeingservedwith thisnoticeand attachedpleadingsunderSection 2.01-329oftheCodeofVirginiawhichdesignates
       the Secretary ofthe Comm onwealth asstatutory agentforServiceofProcess.The Secretary ofthe Comm onwealth's ONLY
       responsibility isto mail,by certifiedm ail,returnreceiptrequested,theenclosedpapersto you.Ifyou haveany questions
       concerning thesedo 'cuments,you may wish to seek advice from a lawyer.
SERVICE OF PROCESS IS EFFECTIVE ON THE DATE THAT THE CERTTFICATE OF COW LIANCE IS FILED W IR'H TH E
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